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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON

PARAMENA SHIKANDA,

           Movant

v.                                         CIVIL ACTION NO. 2:12-000641
                                           (Criminal No. 2:09-00251)
UNITED STATES OF AMERICA,

           Respondent


                        MEMORANDUM OPINION AND ORDER


           This action was previously referred to the Honorable

Mary E. Stanley, United States Magistrate Judge, for submission

to the court of her Proposed Findings and Recommendation

(“PF&R”) for disposition pursuant to 28 U.S.C. § 636.


           On November 10, 2009, the grand jury returned an

indictment charging movant with (1) conspiracy to commit mail

and wire fraud, in violation of 18 U.S.C. § 1349 (Count One),

(2) mail fraud and aiding and abetting, in violation of 18

U.S.C. §§ 1341 and 2 (Counts Two through Four), (3) wire fraud

and aiding and abetting, in violation of 18 U.S.C. §§ 1342 an 2

(Counts Five through Seven), (4) conspiracy to commit money

laundering, in violation of 18 U.S.C. § 1956(h) (Count Eight),

and (5) a forfeiture count.


           On September 14, 2010, following his plea of guilty to

Count Eight, the Judgment was entered sentencing movant to a 46-
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month term of imprisonment, followed by a three-year term of

supervised release, restitution in the amount of $772,016.05, to

be paid jointly and severally with his codefendants, and a

$100.00 special assessment.         On February 25, 2011, after having

failed to notice a direct appeal from the Judgment, movant

sought modification of the custodial portion of his sentence

pursuant to 18 U.S.C. 3582(c)(2).         On July 11, 2011, the court

denied the request.      On August 15, 2011, movant noticed his

appeal of the July 11, 2011, order.          On December 23, 2011, the

court of appeals affirmed the order appealed from.


           On March 2, 2012, the movant filed the instant section

2255 motion respecting restitution.          On June 19, 2012, the

magistrate judge filed her PF&R recommending that the court deny

the section 2255 motion.      On July 10, 2012, after having

received from the court an extension until August 1, 2012,

movant objected.      The objections are not responsive to the well-

reasoned justifications supporting the magistrate judge's

recommendation.      Foremost, the plea agreement signed by movant

reflects his promise "not to appeal any order of the District

Court imposing restitution unless the amount of restitution

imposed exceeds $919,916.00." (Plea agmt. at 3).             The

restitution order reflected in the Judgment does not exceed that

amount.


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               Moreover, movant additionally agreed in that same

bargain to eschew "any collateral attack, including but not

limited to a motion brought under 28 U.S.C. § 2255," unless the

collateral attack alleged the ineffective assistance of counsel.

(Id. at 7).        Based upon the absence of any such argument in his

objections, movant appears to abandon any Sixth Amendment

challenge to the effectiveness of his counsel with respect to

his sentence of restitution.1           This separate waiver thus offers

an additional basis upon which to deny relief.




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     In his section 2255 motion, movant stated as follows:

         [P]etitioner was to be fully defended by an attorney,
         in this case, court appointed. This petitioner was
         ill-served by his attorney when he expected and relied
         only on the officers of the court to "do the right
         thing." This petitioner pleaded guilty because he
         believed that his attorney looked out for him and that
         the court would sentence him within the confines of
         the law. However, petitioner's counsel failed to
         explore a favorable plea negotiation on petitioner's
         behalf by subjecting petitioner to fiscal
         responsibilities which were beyond punitive
         responsibility of the crime that he committed.
         Petitioner pleaded only to certain specific crime that
         did not embod[y] a conglomeration of financial loss
         attributable to his crime of conviction. A counsel who
         failed to explore such mentioned mitigating facts was
         ineffective in his assistance to this petitioner.

(Sec. 2255 Mot. at 4 (citation omitted)). This conclusory
excerpt does not approach the showing necessary under Strickland
v. Washington, 466 U.S. 668, 687 (1984). In any event, the lack
of any mention of this ground in movant's objections results in
its conclusive waiver. Fed. R. Civ. P. 72(a).

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           For this reason, and those expressed by the magistrate

judge, movant’s objections lack merit.          Based upon a de novo

review, and having found the objections meritless, the court

adopts and incorporates herein the magistrate judge’s PF&R.               The

court, accordingly, ORDERS that this action be, and it hereby

is, dismissed.


           The Clerk is directed to forward copies of this

written opinion and order to the movant, all counsel of record,

and the United States Magistrate Judge.


                                         DATED: November 27, 2012


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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